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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PATRICK CALHOUN, et al.,                           Case No. 20-cv-05146-YGR (SVK)
                                   8                     Plaintiffs,
                                                                                            SPECIAL MASTER REPORT AND
                                   9                v.                                      RECOMMENDATION RE CALHOUN
                                                                                            MODIFIED PRESERVATION PLAN
                                  10     GOOGLE LLC,
                                  11                     Defendant.

                                  12          On April 4, 2022 the Special Master filed a Report and Recommendation (“April 4
Northern District of California
 United States District Court




                                  13   Report”) regarding a plan for the preservation of data for the remainder of this litigation. Dkt.
                                  14   604. On a schedule provided by the Court, the Parties filed objections, responses to objections,
                                  15   and a hearing was held on May 3, 2022. Dkt. 648. At that hearing, in response to arguments of
                                  16   counsel for both sides, the Court ordered further proceedings before the Special Master. Id. The
                                  17   Special Master held a series of conferences and requested submissions from the Parties during the
                                  18   period May 4 - May 17, 2022. On May 17, 2022, the Parties submitted a joint record reflecting
                                  19   their compromises and outstanding issues. That summary of the Parties’ positions, with the
                                  20   addition of the Special Master’s resulting modified recommendations, is attached hereto as Exhibit
                                  21   A. The Special Master’s Modified Preservation Plan (“Modified Plan”) is attached hereto as
                                  22   Exhibit B.
                                  23          A complete history of the process before the Special Master relating to the issue of
                                  24   preservation of data is set forth in the April 4 Report and incorporated herein by reference. In
                                  25   developing the Modified Plan for this matter, the Special Master continued his efforts to ensure an
                                  26   adequate bank of data for Plaintiffs’ purposes while balancing the burdens on both Parties of
                                  27   managing phenomenal quantities of information. In sum, the Modified Plan reflects the plan set
                                  28   forth in the April 4 Report with the following changes:
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                                   1             Of the 65 data sources identified in the April 4 Plan,

                                   2                    26 data sources are unchanged in any meaningful way from the April 4 Plan. For

                                   3             example, in some instances, names have been corrected;

                                   4                    25 data sources have been removed either by agreement of the Parties or as result

                                   5             of obvious duplication with other of the 65 sources;

                                   6                    14 data sources reflect new or modified preservation protocols.

                                   7   The findings in support of the Modified Plan are as set forth in the April 4 Report and in Exhibit A

                                   8   hereto.

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                                  10   Respectfully submitted,

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                                  12   Dated: May 23, 2022
Northern District of California
 United States District Court




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                                                                                                          Douglas Brush
                                  15                                                                      Special Master
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